                       Case 2:22-cv-00389-DCN Document 2 Filed 09/13/22 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                       District
                                                __________      of Idaho
                                                           District of __________

           CODY J. SCHUELER, an individual,                      )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                      Civil Action No. 2:22-cv-00389-DCN
                                                                 )
 FOUR SQUAREBIZ, LLC, a Wyoming limited liability                )
  company, KEITH O. CREWS, an individual and the
                                                                 )
  associated marital community, MICAH EIGLER, an
individual and the associated marital community, and             )
            JOHN AND JANE DOES 1-10,                             )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       Four SquareBiz, LLC
                                       3350 Riverwood Parkway, Suite 1900
                                       Atlanta, GA 30339




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Andrew M. Wagley
                                       Etter, McMahon, Lamberson, Van Wert & Oreskovich, P.C.
                                       618 West Riverside Avenue, Suite 210
                                       Spokane, WA 99201



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                                             o· States Courts
                                                                            CLERK OF COURT United
                                                                                                   ,strict of Idaho

Date: September 13, 2022                                                                         ISSUED
                                                                                    Signature of Jocelyn    Dunnegan
                                                                                                 Clerk or Deputy Clerk
                                                                                          on Sep 13, 2022 10:07 am
